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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
UNITED STATES OF AMERICA,                                      :
                                                               :
                                                               :   20 Cr. 468 (RMB)
                          - against -                          :
                                                               :        ORDER
ROBERT HADDEN,                                                 :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------x


        Defense counsel Gosnell and Kirshner’s 10-page letter to the Court in this case, dated

December 24, 2020, is respectfully rejected. And, the Court’s Decision & Order, dated December 23,

2020, remains fully in effect.

        If defense counsel intended or intend to seek or obtain specific action or relief from the Court

(or any of the Court’s staff), they must do so in a written motion, and in accordance with the Federal

Rules of Criminal Procedure and the Court’s individual rules. See e.g. Fed. R. Cr. P. 47.

        If counsels’ intention in sending their December 24 letter to the Court was to share their stream

of consciousness musings and opinions following the Court’s Decision & Order, even if their letter had

been factually and/or legally correct, their letter was improper (and quite rude).

        Counsel have actively and aggressively litigated together the intertwined issues of Mr.

Hadden’s application for appointed counsel and their own application to be relieved (making written

submissions and arguing orally at several court appearances). See e.g. Sept. 17, 2020 Tr. at 33:15-17;

Nov. 12, 2020 Tr. at 10:19-21 (Ms. Kirshner: “[W]e are going to continue to seek to be relieved

from this case and hopefully have counsel appointed, Judge.”) (emphasis added). The Court is not

inclined to separate these two issues and to permit counsel to abandon the Defendant at this juncture.

See e.g. United States v. Morrison, 2006 WL 2482046, at *4 (E.D.N.Y. Aug. 25, 2006) (where the

court “indicated that present counsel would not be relieved until new counsel was retained”); Kentelle

S.p.A. v. Devori Int’l Inc., 1987 WL 19637, at *2 n.3 (S.D.N.Y. Oct. 29, 1987) (“This Court, except in
                                                            1
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the most exceptional of circumstances, denies a request to withdraw unless new counsel is

substituted.”).




Dated: New York, New York
       December 26, 2020

                                                 _________________________________
                                                   RICHARD M. BERMAN, U.S.D.J.




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